Case 2:20-cv-11181-CAS-JPR Document 36 Filed 07/13/21 Page 1 of 10 Page ID #:376




    1   Mark S. Lee (SBN 94103)
        mark.lee@rimonlaw.com
    2   RIMON, P.C.
        2029 Century Park East, Suite 400N
    3   Los Angeles, California 90067
        Telephone: 213.375.3811
    4   Facsimile: 213.375.3811
    5   Zheng Liu (SBN 229311)
        zheng.liu@rimonlaw.com
    6   RIMON, P.C.
        800 Oak Grove Avenue, Suite 250
    7   Menlo Park, California 94025
        Telephone: 650.461.4433
    8   Facsimile: 650.461.4433
    9   Attorneys for Defendants
        INTERFOCUS, INC. d.b.a.
   10   www.patpat.com
   11                        UNITED STATES DISTRICT COURT
   12                      CENTRAL DISTRICT OF CALIFORNIA
   13
        NEMAN BROTHERS & ASSOC.,                Case No.: 2:20-cv-11181-CAS-JPR
   14 INC., a California Corporation,
                                                STATEMENT OF
   15               Plaintiff,                  UNCONTROVERTED FACTS AND
                                                CONCLUSIONS OF LAW IN
   16         v.                                SUPPORT OF DEFENDANT AND
                                                COUNTERCLAIM DEFENDANT
   17 INTERFOCUS, INC. d.b.a.                   INTERFOCUS, INC. D.B.A.
        www.patpat.com, a Delaware              WWW.PATPAT.COM’S MOTION
   18 Corporation; CAN WANG, and                FOR PARTIAL SUMMARY
        individual, and DOES 1-10, inclusive,   JUDGMENT
   19
                    Defendants.                 Date: August16, 2021
   20                                           Time: 10:00 am
                                                Courtroom: 8D
   21
                                                Honorable Christine A. Snyder
   22
        INTERFOCUS, INC. d.b.a.
   23 www.patpat.com, a Delaware
        Corporation; CAN WANG, and
   24 individual, and DOES 1-10, inclusive,

   25               Counterclaim Plaintiffs,
              v.
   26
        NEMAN BROTHERS & ASSOC.,
   27 INC., a California Corporation,

   28               Counterclaim Defendant.
                                           -1-
           INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
             OF LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 36 Filed 07/13/21 Page 2 of 10 Page ID #:377




    1        Defendant and counterclaimant InterFocus, Inc. d.b.a. www.patpat.com
    2 (“InterForucs”) Plaintiff Nirvana, L.L.C. (“Nirvana”) presents the following

    3 Statement of Uncontroverted Facts and Conclusions of Law in Support of its Motion

    4 for Summary Judgment on Plaintiff’s First Amended Complaint, and Partial

    5 Summary Judgment on InterFocus’ Counterclaim herein pursuant to Local Rule 56-

    6 1 as follows:

    7                 STATEMENT OF UNCONTROVERTED FACTS
    8
                   Undisputed Fact                                Evidence
    9
           1. Neman Brothers is a California       Declaration of Mark S. Lee [“Lee
   10   company that has filed almost a            Decl.”] ¶ 2 and Ex. 1.
   11
        hundred copyright infringement actions
        in this Court,
   12      2. Summary judgment previously has      Neman Brothers & Assoc., Inc. v. One
   13
        been entered against Neman Brothers        Step up Ltd., 764 Fed. Appx 624 (9th
        for, inter alia, refiling released         Cir. March 25, 2019)
   14   copyright infringement claims.
   15      3. Neman Brothers first filed suit      Court Docket in Neman Brothers &
        against Interfocus in Neman Brothers &     Assoc. Inc v. Interfocus, Inc., Case No.
   16   Assoc. Inc v. Interfocus, Inc., Case No.   2:19-CV-10112; Declaration of
   17   2:19-CV-10112, before the Hon. John        WeiWei Le [“Le Decl.”] ¶ 2.
        A. Kronstadt. (The “Previous Action.”)
   18      4. Although InterFocus disputed its     Le Decl. ¶¶3-4 , Exs. 2 and 3.
   19   liability in that action, due to the
        relatively small volume of sales of
   20   disputed items, it entered into a
   21   “nuisance value” settlement on
        confidential terms (the “Previous
   22   Settlement Agreement” or “PSA.”)
   23      5. Neman Brothers released              PSA §5, Exs. 2 and 3.
        InterFocus from liability for all claims
   24   Neman Brothers asserted or could have
   25   asserted in the Previous Action in the
        PSA.
   26      6. In the PSA, Neman Brothers           PSA §5, Exs. 2 and 3
   27   Neman Brothers agreed to give
        InterFocus written notice of any future
   28
        alleged infringement of intellectual
                                           -1-
           INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
             OF LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 36 Filed 07/13/21 Page 3 of 10 Page ID #:378




    1
                   Undisputed Fact                                  Evidence
    2
        property, and allowed InterFocus seven
    3   business days thereafter to “cure” it by
    4
        removing the allegedly infringed
        products from its platform.
    5     7. In the PSA, Neman Brothers             PSA §5, Exs. 2 and 3
    6
        agreed that it would not file a lawsuit
        against InterFocus for an alleged
    7   infringement for 30 days after giving
    8   InterFocus after giving written notice so
        the partiew could resolve the dispute
    9   amicably by, for example, InterFocus
   10   curing the alleged infringements as
        provided earlier in that paragraph.
   11     8. InterFocus fully complied with all     Le Decl. ¶ 5.
   12   of its obligations under the PSA
        following its execution.
   13     9. Neman Brothers dismissed its           PSA § 7, Exs. 2 and 3; Previous Action
   14   claims against InterFocus with              Dkt. No. 19.
        prejudice in the Previous Action, as the
   15   PSA required it to do.
   16     10. As required by the Previous           Le Decl. ¶¶ 6, 8; Ex. 4 , and Ex. 1
        Settlement Agreement, Neman Brothers        thereto.
   17   sent InterFocus a letter intended to
   18   constitute “Adequate Notification”
        under the PSA on or about September
   19   15, 2020 (the “September 15 letter”)
   20     11. The September 15 Letter alleged       Le Decl. ¶ 8 ; Ex. 4 , and Ex. 1 thereto.
        infringement of Neman Brothers’
   21
        alleged copyrights in the following six
   22   fabric patterns on the following
        garments:
   23

   24

   25

   26

   27

   28
                                         -2-
        INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
            LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 36 Filed 07/13/21 Page 4 of 10 Page ID #:379




    1
                  Undisputed Fact                               Evidence
    2

    3

    4

    5

    6

    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19
          12. After receiving the September 15 Le Decl. ¶ 7.
   20   Letter, InterFocus immediately
   21   launched an investigation into Neman
        Brothers’ claims in compliance with its
   22   obligations
   23     13. In investigating Neman Brothers’ Le Decl. ¶ 10.
        claims in the September 2015 Letter,
   24
        discovered that it had already removed
   25   from its platform three of the alleged
        infringements Neman Brothers’ letter
   26
        complained of before it entered into the
   27   Previous Settlement Agreement as
        follows:
   28
                                         -3-
        INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
            LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 36 Filed 07/13/21 Page 5 of 10 Page ID #:380




    1
                   Undisputed Fact                                Evidence
    2

    3

    4

    5

    6

    7

    8

    9

   10

   11     14. In response to the September        Le Decl. ¶¶11-12.
   12   2015 Letter, InterFocus also removed
        from its platform the other three alleged
   13
        infringements within seven business
   14   days of receiving the September 15,
        Letter as follows:
   15

   16

   17

   18

   19

   20

   21

   22

   23

   24
          15. Neman Brothers filed its original   Dkt. No. 1.
   25   complaint herein on December 9, 2020.
          16. Neman Brothers’ complaint           Cf. Dkt. No.1 Exs. 1-6 and September
   26
        repeated the allegations of the           15 letter Ex. 1, concurrently filed as Ex.
   27   September 15 letter and Previous          4; Le Decl. ¶ 15.
        Action regarding those three released
   28
        alleged infringements.
                                         -4-
        INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
            LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 36 Filed 07/13/21 Page 6 of 10 Page ID #:381




    1
                   Undisputed Fact                                 Evidence
    2
          17. Neman Brothers filed a First          Dkt. No. 10.
    3   Amended Complaint on January 5,
    4
        2021.
          18. Neman Brothers’ First Amended         Dkt. No. 10; Le Decl. ¶ 16.
    5   Complaint added new copyright
    6
        infringement claims about which it
        never sent InterFocus a written notice of
    7   alleged infringements.
    8     19. InterFocus removed these new          Le Decl. ¶ 16; § 5, Exs. 2 and 3 .
        alleged infringements from its platform
    9   as permitted by the “notice and cure”
   10   provision of the PSA.
          20. InterFocus has lost employee          Le Decl. ¶17; Lee Decl. ¶ 4.
   11   time and incurred legal fees defending
   12   this action.

   13                              CONCLUSIONS OF LAW
   14        1.     InterFocus is not liable on three of the claims asserted in Neman
   15 Brothers’ First Amended Complaint because InterFocus stopped those alleged

   16 infringements before Neman Brothers contractually released them in the Previous

   17 Settlement Agreement. Neman Brothers & Assoc., Inc. v. One Step Up Ltd., 2017

   18 WL 6885390, *3 (C.D. Cal 12/13/2017); affirmed, 764 Fed. Appx. 625 (9th Cir.

   19 Mar. 25, 2019)

   20        2.     The Previous Settlement Agreement contained a “notice and cure”
   21 provision. Such provisions give a contracting party the opportunity to remedy a

   22 breach by taking the steps set forth in the contract, and by “curing” the alleged

   23 deficiency or infringement, placing itself in a pre-default condition. Petersen v.

   24 Hartell, 40 Cal. 3d 102, 40 Cal.3d 102, 219 Cal. Rptr. 170, 707 P.2d 232, 242

   25 (1985). Such provisions have been recognized in,installment contracts, Petersen v.

   26 Hartell, supra; loan agreements, Smith v. Flagstar Bank, FSB, 2018 WL 3995922,

   27 *4 (N.D. Cal. 8/21/ 2018); license agreements, Point Products A.G. v. Sony Music

   28 Entertainment, Inc., 2000 WL 1006236 (S.D.N.Y. July 20, 2020); and settlement
                                            -5-
       INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
            LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 36 Filed 07/13/21 Page 7 of 10 Page ID #:382




    1 agreements. Theta Chi Fraternity, Inc., v. Leland Stanford University, 212 F. Supp.

    2 3d 816, 823 (N.D. Cal.2016).

    3        3.     The “notice and cure” provision in the Previous Settlement Agreement
    4 requires Neman Brothers to give InterFocus contractually-defined “Adequate

    5 Notification” of any alleged infringement. It grants InterFocus seven business days

    6 to “cure” any alleged infringement for which such notice is given, and

    7 unambiguously defines the mechanism by which InterFocus could “cure” that

    8 alleged infringement, namely by removing ‘the allegedly infringed products and/or

    9 designs” from InterFocus’ platform within seven business days. And, it prohibits

   10 Neman Brothers from filing suit for 30 days after sending the “Adequate

   11 Notification” so that the parties could informally resolve their dispute by, for

   12 example, InterFocus “curing” the alleged infringement as permitted in the same

   13 provision.

   14        4.     Neman Brothers’ copyright infringement claims are barred by the
   15 notice and cure provisions in the PSA. InterFocus’ cure of the above alleged

   16 infringements in the manner Neman Brothers agreed it could contractually bars

   17 Neman Brothers from pursuing them in this action pursuant to the plain language of

   18 the PSA as a matter of law. “Curing a default means returning to pre-default

   19 conditions, such that any consequences of the default are nullified.” In re New

   20 Investments, Inc., 840 F. 3d 1137, 1143 (9th Cir. 2016) (internal citations and

   21 quotation marks omitted). “[T]he plain meaning of “cure”… provides a debtor with

   22 the right to remedy a default and restore matters to the status quo ante. In other

   23 words, cure will nullify all consequences of default.” In re Frazer, 37 B.R. 621, 630

   24 ((9th Cir. BAP 2007) (internal citations omitted); see also, Anacapa Technology, Inc.

   25 v. ADC Telecommunications, Inc., supra, 241 F. Supp. 2d at 1019-20 (“cure” mean

   26 substantial performance to remedy default).

   27        5.     Summary judgment is appropriate when an alleged breach or
   28 infringement has been cured as provided by the notice and cure provision of an
                                              -6-
       INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
             LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 36 Filed 07/13/21 Page 8 of 10 Page ID #:383




    1 agreement. Matrix Group Ltd., Inc v. Rawlings Sporting Goods Co., 477 F. 3d 583,

    2 588-89 (8th Cir 2007)( affirmed summary judgment for defendant on a breach of

    3 contract claim because plaintiff did not comply with the 30-day notice-and-cure

    4 provision in the relevant agreement); Alliance Metal, Inc of Atlanta v. Hinely

    5 Industries, Inc., 222 F. 3d 895, 903 (11th Cir. 2000)( affirmed a summary judgment

    6 for one contracting party because the other party failed to comply with a “notice and

    7 cure” provision in the relevant contract); (Cross-Country) Productions, Inc. v.

    8 United Artists Corp., 865 F.3d 513, 518 (2d Cir. 1989) (affirming judgment against

    9 party who failed to satisfy a contractual requirement to provide notice and

   10 opportunity to cure); In re Colony Square Co, 843 F. 2d 479, 481 (11th Cir. 1988)

   11 (summary judgment granted for failing to comply with notice and cure provision);

   12 Smith v. Flagstar Bank, FSB, 2018 WL 3995922, at *4 (N.D. Cal.

   13 8/21/2018)(granted a motion to dismiss a complaint because Plaintiff failed

   14 to comply with the notice-and-cure provision in the agreement at issue before filing

   15 suit); Anacapa Technology, Inc. v. ADC Telecommunications, Inc., 241 F. Supp 2d

   16 1016, 1019-1020 (D. Minn. 2002) (defendant’s cure of an alleged breach required

   17 that summary judgment be entered in its favor on breach of contract claim); Point

   18 Products A.G. v. Sony Music Entertainment, supra (granting summary judgment

   19 where a party terminated a copyright-related license before giving the other

   20 contracting party an opportunity to cure the breach as provided in the license

   21 agreement); Columbus Container, Inc v. Logility Inc., 2002 WL 44970 at * 7 (S.D.

   22 Ind. Feb. 7, 2002) (granting summary judgment for breach of notice and cure

   23 provision of contract); Needham v. Candie’s, Inc., 2002 WL 1896892 at *3

   24 (S.D.N.Y. 2002) (same).

   25        6.    Neman Brothers’ actions in filing suit and alleging copyright
   26 infringement as set forth in the First Amended Complaint on claims it previously

   27 released, that InterFocus cured pursuant to the notice and cure provision of the PSA,

   28 and that Neman Brothers brought without giving notice as required by the PSA are
                                            -7-
       INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
            LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 36 Filed 07/13/21 Page 9 of 10 Page ID #:384




    1 all barred by the PSA as a matter of law for the reasons and authorities ed described

    2 above. All claims in Neman Brothers’ First Amended complaint are dismissed with

    3 prejudice.

    4        7.     InterFocus has also filed a counterclaim which alleges that Neman
    5 Brothers breached the Previous Settlement Agreement. To prevail on its breach of

    6 contract counterclaim, InterForcus must prove: 1) a contract, (2) InterFocus’

    7 performance or excuse for nonperformance, (3) Neman Brothers’ breach, and (4)

    8 resulting damages to InterFocus. Coles v. Glaser, 2 Cal. App. 5th 384, 205 Cal.

    9 Rptr. 3d 922 (1st Dist. 2016).

   10        8.     InterFocus has met its burden of proving breach of contract here.
   11 Neman Brothers’ actions in filing suit and pursing its copyright infringement claims

   12 breaches the PSA and makes Neman Brothers liable for the damages its breach has

   13 caused, including but not limited to the employee time InterFocus has lost and the

   14 attorneys’ fees it is forced to pay. Partial summary judgment that Neman Brothers

   15 is liable to InterFocus for damages on InterFocus’ breach of contract counterclaim is

   16 therefore granted. The amount of those damages will be determined in a subsequent

   17 proceeding.

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28
                                         -8-
        INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
            LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:20-cv-11181-CAS-JPR Document 36 Filed 07/13/21 Page 10 of 10 Page ID #:385




    1

    2 .DATED: July 13, 2021             RIMON, P.C.

    3

    4                                   By: /s/ Mark S. Lee
    5
                                            Mark S. Lee (SBN: 94103)
                                            mark.lee@rimonlaw.com
    6
                                            RIMON P.C.
                                            2029 Century Park East, Suite 400N
    7
                                            Los Angeles, CA 90067
                                            Telephone/Facsimile: 310.375.3811
    8                                       Zheng Liu (SBN 229311)
    9
                                            zheng.liu@rimonlaw.com
                                            RIMON, P.C.
   10
                                            800 Oak Grove Avenue, Suite 250
                                            Menlo Park, California 94025
   11
                                            Telephone/Facsimile: 650.461.4433

   12
                                            Attorneys for Defendants
                                            INTERFOCUS, INC. d.b.a.
   13                                       www.patpat.com

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28
                                         -9-
        INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
            LAW IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
